 

Case 2:05-cr-20204-.]DB Document 37 Filed 07/14/05 Page 1 of 2 Page|D 59

FILED BY ....%_D.C.
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT 05 JU!_ |I., FH lp 00
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W_¢‘D §§ §?"3 §r-E%:?\‘€PHIS
UN.[TED STATES OF AMERICA )
)
) Case No. 05-CR-20204-1-B-V
vs. )
§
WARD CRUTCHFIELD )

ORDER GRANTING MOTION TO EXTEND MOTION DEADLINE
AND TO CONTINUE REPORT DATE

lt appears to the Court that the Motion To Extend Motion Deadline And To Continue
Report Date submitted by defendant Ward Crutchfleld is well taken and should be granted It is

THEREFORE ORDERED, ADJUDGED AND DECREED that the deadline for filing
motions in this matter is hereby extended until October 17, 2005. It is

FURTI-IER ORDERED AD.]UDGED AND DECREED that the report date for
defendant Crutchtield is hereby reset for AN`€)¢,L 251 ZDO‘$@ §§ 46 o..m.

ENTERED this the L_‘@ day of , 2005.

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on able J, Daniel Breer}
.S. istrict Court Judge

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Honcrable J. Breen
US DISTRICT COURT

